        Case 2:24-mc-01645-AMM     Document 2    Filed 12/06/24   Page 1 of 1            FILED
                                                                                2024 Dec-06 AM 08:58
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

 DAVID SILLS AND MARY                   )
 SILLS,                                 )
                                        )
        Plaintiffs,                     )
                                        )
 v.                                     ) Case No.: 2:24-mc-1645 AMM
                                        )
 SOUTHERN BAPTIST                       )
 CONVENTION, et al.,                    )
                                        )
        Defendants.                     )
                                        )
                                        )


      ORDER SETTING BRIEFING SCHEDULE ON MOTION TO QUASH
                       AND FOR SANCTIONS

        Any response to the motion to quash and motion for sanctions filed by R.

Bruce Barze, Jr., and Barze Taylor Noles Lowther LLC, Doc. 1, is due within

twenty-one days of the date of this order. Reply is due within fourteen days of the

date that the response is filed.

        DONE and ORDERED this 6th day of December, 2024.



                                   _________________________________
                                   ANNA M. MANASCO
                                   UNITED STATES DISTRICT JUDGE
